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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                              Robert E. Blackburn, Judge


Criminal Case No. 10-cr-00210-REB

UNITED STATES OF AMERICA,

       Plaintiff,
v.

1. SHANE LEE ALLEN,

      Defendant.
_____________________________________________________________________

 FINDINGS OF FACT AND CONCLUSIONS OF LAW ON THE ENTRY OF A PLEA OF
                                 GUILTY
_____________________________________________________________________
Blackburn, J.

       On July 6, 2010, I conducted a change of plea hearing during which (1) the

defendant, his counsel, counsel for the government, and I formally reviewed and

considered the plea agreement of the parties as stated in Court's Exhibits 1 and 2 ("plea

agreement"); (2) I rearraigned the defendant under Fed. R. Crim. P. 10; and (3) I formally

advised the defendant and conducted providency proceedings under Fed. R. Crim. P. 11.

       Based upon my exchange and colloquy with the defendant in open court on the

record; based upon the representations, remarks, and statements of counsel for the

government and counsel for the defendant; based upon my review of the file and my

review of the written plea agreement as stated in Court's Exhibits1and 2, I enter the

following findings of fact and conclusions of law:

       That the defendant appeared to be alert and not under the influence of or impaired

by drugs, narcotics, marihuana, alcohol, medication, or intoxicants;
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       That the defendant was competent and fully understood the nature, circumstances,

and essential elements of the offense to which his plea of guilty was entered;

       That the defendant understood the direct and collateral consequences that he may

suffer or experience as a result of his participation in the plea agreement, his plea of guilty,

and the resultant felony conviction and sentence;

       That the defendant's plea of guilty was made and entered voluntarily, knowingly,

intelligently and intentionally, and was not the result of mistake; misunderstanding, fear,

force, threats, coercion, or undue influence by anyone;

       That the defendant's plea of guilty was not the result of any promise or inducement

made by anyone, including legal counsel, except as previously indicated on the record and

included in the written plea agreement;

       That the defendant understood each of his legal rights, including his right to a trial

by jury and his right to be represented throughout this criminal case by an attorney even if

indigent; and that the defendant freely, voluntarily, knowingly, intelligently, and intentionally

waived his rights and privileges, including the right to trial by jury, but excepting his right to

be represented throughout this criminal case by an attorney even if indigent and his right

to appeal any sentence I impose;

       That the defendant understood that in imposing sentence, I must consult and

consider the purposes and goals of sentencing as prescribed by Congress, the relevant

provisions of the advisory United States Sentencing Guidelines, any motion for a sentence

departure or variance, and the provisions of 18 U.S.C. § 3553 (a)(1)-(7);

       That the defendant understood that the court will not be bound by any



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representations by anyone concerning the penalty to be imposed, except as specified in

the plea agreement or on the record;

       That a factual basis existed to support and sustain the plea agreement and the

defendant's plea of guilty;

       That the defendant has been represented at the change of plea hearing and

throughout this case by effective and competent counsel with whom the defendant has no

objection, criticism, or complaint whatsoever;

       That the defendant read, understood, and accepted each and every term and

provision within his plea agreement, which he reviewed carefully and thoroughly with his

attorney;

       That the plea agreement conformed in form and substance to the requirements of

law, including The Local Rules of Practice of the United States District Court for the District

of Colorado-Criminal; and

       That on the record considered as a whole, I conclude that I may properly accept the

defendant's plea of guilty, which was entered in the context of his plea agreement, and

defer formal approval of the plea agreement as stated in Court's Exhibits 1 and 2,

pending opportunity to consider the presentence report.

       Dated July 6, 2010, at Denver, Colorado.

                                                   BY THE COURT:




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